                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE


Allergan, Inc.,
Allergan Pharmaceuticals Ireland
Unlimited Company, Allergan USA, Inc.,
and Allergan Sales, LLC,
                                            Civil Action No. 3:23-cv-00431
                  Plaintiffs,
                                            District Judge Eli J. Richardson
       v.                                   Magistrate Judge Jeffrey S. Frensley

Revance Therapeutics, Inc.,

                  Defendant.


  DEFENDANT REVANCE THERAPEUTICS, INC.’S MOTION FOR CONTEMPT
    SANCTIONS REGARDING PLAINTIFFS’ FAILURE TO COMPLY WITH
                   SEPTEMBER 16, 2024 ORDER




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                                       I.INTRODUCTION

       On September 16, 2024, the Court ordered Allergan to produce a variety of documents,

“no later than September 30, 2024.” ECF No. 204 (the “Order”) at 23. Allergan failed to comply.

With respect to certain categories of documents, Allergan ignored the Court’s Order to produce

“any nonprivileged documents,” and instead conducted only limited searches for responsive

documents. Moreover, Allergan has simply ignored the Order’s September 30 deadline; after the

deadline passed, it acknowledged it still has not completed its review and production of the

documents subject to the Court’s Order. With respect to other categories, Allergan refuses to

confirm whether its production is complete, only coyly responding that it had produced some

responsive documents after “a reasonable inquiry and diligent search” and leaving Revance to

guess whether there might be others.

       In tacit recognition of its failure to comply with the Court’s Order, Allergan has tried to

reverse the burden, demanding Revance tell Allergan what Allergan documents it has not

produced. For obvious reasons, this is unfair and undermines the Court’s order, which requires

Allergan to undertake the search and production in good faith. The Court’s Order did not require

Revance to specify the documents Allergan was to produce; it ordered Allergan to produce the

categories of documents identified in Revance’s requests.

       Obeying court orders is paramount, and a party’s failure to do so subjects it to mandatory

monetary sanctions under Rule 37(b)(2)(C). Accordingly, and for the reasons more fully explained

below, Revance asks the Court to sanction Allergan for failure to comply with its Order, again

direct Allergan to comply in full with the Order, and award Revance its reasonable attorneys’ fees

and costs incurred due to Allergan’s noncompliance.




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                                            II.BACKGROUND

     A.      THE SEPTEMBER 16TH ORDER.

             The Court ordered that “no later than September 30, 2024, Allergan must produce the

     documents and information specified above [in the Order].” ECF No. 204 at 23. Specifically, the

     Court ordered Allergan produce all documents responsive to Requests for Production 5, 29, 30,

     32, 33, 34, 35, 36, 45, 46, 47, 48, 49, 50, 51 and 54. As for Request No. 23, the Court ordered

     Allergan to cooperate with Revance in determining appropriate search terms and custodians, a

     process that remains ongoing. The Court also ordered Allergan to supplement its responses to

     Interrogatory Nos. 3 and 12.

             For ease of reference, Revance reprints the relevant Requests and Court’s Order relative to

     the Requests below:

No.                      Request                                        Court’s Order

    Category One: Measures Taken by Allergan to Protect Information it Claims as Trade Secrets
5         All versions of any employment “To the extent that Allergan has not already done so, it
          agreements, confidentiality agreements, must conduct a reasonable search for any employee
          assignment agreements, non-compete confidentiality agreements executed since January 1,
          agreements, or other agreements that 2010, and produce them to Revance.” ECF No. 204 at 8.
          Plaintiffs require or have required
          employees to execute as a condition of
          employment since 2010.
                         Category Two: Allergan’s Current and Former Employees
29        The complete personnel file (or the “Therefore, to the extent that any nonprivileged
          equivalent Plaintiffs maintain) for each documents that are responsive to these RFP are within
          of the former Allergan employees listed Allergan’s possession, custody, or control, Allergan
          in Appendix I.                           must produce them to Revance.” ECF No. 204 at 12.
30        All       employment        agreements, “Therefore, to the extent that any nonprivileged
          confidentiality agreements, and/or documents that are responsive to these RFP are within
          restrictive covenant agreements for each Allergan’s possession, custody, or control, Allergan
          of the former Allergan employees listed must produce them to Revance.” ECF No. 204 at 12.
          in Appendix I.
32        All documents concerning the departure “The Court finds that information about the departure
          from Allergan of any former Allergan from Allergan of those employees that Allergan has
          employee listed in Appendix I.           identified as having left Allergan for Revance is relevant
                                                   to the claims and defenses in this matter, specifically


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                                                  Allergan’s claim that Revance engaged in employee
                                                  raiding to gain access to Allergan’s trade secrets and
                                                  Revance’s defense that it did not engage in such
                                                  conduct. See Docket Nos. 1, 151. Allergan has not
                                                  articulated any burden associated with production or any
                                                  other reason why the information should not be
                                                  produced. See Docket No. 181. Therefore, to the extent
                                                  that any nonprivileged documents that are responsive to
                                                  RFP No. 32 are within Allergan’s possession, custody,
                                                  or control, Allergan must produce them to Revance.”
                                                  ECF No. 204 at 13-14.
33      All communications with current or        “There does not appear to be any dispute as to the
        former employees of Plaintiffs            relevance of the information sought by these RFP, and
        concerning purported post-employment      Allergan has not articulated any burden associated with
        restrictive covenants since January 1,    production or any other reason why the information
        2020. This Request includes without       should not be produced. See Docket Nos. 158-1, 181,
        limitation cease and desist letters,      182. Therefore, to the extent that any nonprivileged
        reminders concerning confidentiality      documents that are responsive to these RFP are within
        obligations, and demand letters.          Allergan’s possession, custody, or control, Allergan
                                                  must produce them to Revance.” ECF No. 204 at 15.
34      All communications with employers of      “There does not appear to be any dispute as to the
        former employees of Plaintiffs            relevance of the information sought by these RFP, and
        concerning purported post-employment      Allergan has not articulated any burden associated with
        restrictive covenants since January 1,    production or any other reason why the information
        2020. This Request includes without       should not be produced. See Docket Nos. 158-1, 181,
        limitation cease and desist letters,      182. Therefore, to the extent that any nonprivileged
        reminders concerning confidentiality      documents that are responsive to these RFP are within
        obligations, and demand letters.          Allergan’s possession, custody, or control, Allergan
                                                  must produce them to Revance.” ECF No. 204 at 15.
35      All communications with current or        “Allergan does not dispute the relevance of the
        former employees of Plaintiffs            information sought by these RFP, and the Court finds
        concerning alleged misappropriation of    that it is relevant to the claims and defenses in this
        trade secrets since January 1, 2020.      matter. Allergan has not articulated any burden
                                                  associated with production or any other reason why the
                                                  information should not be produced. See Docket Nos.
                                                  158-1, 181, 182. Therefore, to the extent that any
                                                  nonprivileged documents that are responsive to these
                                                  RFP are within Allergan’s possession, custody, or
                                                  control, Allergan must produce them to Revance.” ECF
                                                  No. 204 at 16.
36      All communications with employers of      “Allergan does not dispute the relevance of the
        Plaintiffs’      former       employees   information sought by these RFP, and the Court finds
        concerning alleged misappropriation of    that it is relevant to the claims and defenses in this
        trade secrets since January 1, 2020.      matter. Allergan has not articulated any burden



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No.                   Request                                       Court’s Order

                                              associated with production or any other reason why the
                                              information should not be produced. See Docket Nos.
                                              158-1, 181, 182. Therefore, to the extent that any
                                              nonprivileged documents that are responsive to these
                                              RFP are within Allergan’s possession, custody, or
                                              control, Allergan must produce them to Revance.” ECF
                                              No. 204 at 16.
   Category Three: Competitive Information Claimed by Revance to be Relevant to Affirmative
                                             Defenses
45    All documents concerning actual or “As can be seen, the above RFP seek information related
      threatened competition faced by to these defenses. As it indicated in its prior Order, the
      Plaintiffs as a result of Revance.      Court will not adjudicate the viability of Revance’s
                                              defenses at the discovery stage. Docket No. 147, p. 10.
                                              The scope of relevance in discovery is broad in part
                                              because early in litigation, it is not clear which claims
                                              and defenses will prevail; additional information is
                                              needed to allow the Parties to make their best cases and
                                              give the trier of fact the most information upon which to
                                              base a decision. These decisions will be made (and
                                              Allergan’s arguments regarding the applicability of the
                                              Noerr-Pennington doctrine and the sham litigation
                                              exception considered) at a later stage in this litigation.
                                              Beyond these arguments, Allergan has not articulated
                                              any burden associated with production or any other
                                              reason why the information should not be produced. See
                                              Docket Nos. 158-1, 181, 182. Therefore, to the extent
                                              that any nonprivileged documents that are responsive to
                                              these RFP are within Allergan’s possession, custody, or
                                              control, Allergan must produce them to Revance.” ECF
                                              No. 204 at 21.
46    All documents concerning any loss or “Under the broad standard for relevance in discovery,
      expected loss of customers, revenue, or the Court finds that the information sought by RFP No.
      market share as a result of competition 46 is relevant to the claims and defenses in this matter,
      by Revance, from January 1, 2015 to specifically Allergan’s claim that it has sustained severe
      present.                                competitive harm. Docket No. 1, p. 33. Allergan has not
                                              articulated any burden associated with production or any
                                              other reason why the information should not be
                                              produced. See Docket Nos. 158-1, 181, 182. Therefore,
                                              to the extent that any nonprivileged documents that are
                                              responsive to these RFP are within Allergan’s
                                              possession, custody, or control, Allergan must produce
                                              them to Revance.” ECF No. 204 at 22.
47    All documents from January 1, 2015 to “As can be seen, the above RFP seek information related
      present concerning Revance, Revance’s to these defenses. As it indicated in its prior Order, the



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No.                    Request                                        Court’s Order

        product offerings, or Revance’s market Court will not adjudicate the viability of Revance’s
        share.                                  defenses at the discovery stage. Docket No. 147, p. 10.
                                                The scope of relevance in discovery is broad in part
                                                because early in litigation, it is not clear which claims
                                                and defenses will prevail; additional information is
                                                needed to allow the Parties to make their best cases and
                                                give the trier of fact the most information upon which to
                                                base a decision. These decisions will be made (and
                                                Allergan’s arguments regarding the applicability of the
                                                Noerr-Pennington doctrine and the sham litigation
                                                exception considered) at a later stage in this litigation.
                                                Beyond these arguments, Allergan has not articulated
                                                any burden associated with production or any other
                                                reason why the information should not be produced. See
                                                Docket Nos. 158-1, 181, 182. Therefore, to the extent
                                                that any nonprivileged documents that are responsive to
                                                these RFP are within Allergan’s possession, custody, or
                                                control, Allergan must produce them to Revance.” ECF
                                                No. 204 at 21.
48      All documents from January 1, 2019 to See above.
        present       concerning       Daxxify
        (DaxibotulinumtoxinA-lanm).
49      All documents from January 1, 2019 to See above.
        present concerning the RHA Collection,
        i.e., RHA 2, RHA 3, RHA 4, and RHA
        Redensity.
50      All documents sent to or received from See above.
        the Food and Drug Administration
        (FDA) or other governmental agency
        concerning Revance from January 1,
        2015 to present.
51      All communications with the FDA or See above.
        other governmental agency concerning
        Revance,      Revance’s      regulatory
        applications, or Revance’s products
        from January 1, 2015 to present.
54      All communications with the FDA or See above.
        other governmental agency concerning
        or mentioning Daxxify.




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B.     BEFORE THE COURT-ORDERED DEADLINE PASSED, REVANCE IDENTIFIED DEFECTS IN
       ALLERGAN’S STATED EFFORTS TO COMPLY.

       On September 25, 2024, Allergan’s counsel wrote to Revance’s counsel (unprompted) to

“confirm compliance” with the Court’s order. Exhibit A, 2024.09.25 A. Roberts Letter to J. Dean.

The letter outlined various searches Allergan said it intended to conduct as part of its plan to

comply with the Order. Contrary to the Court’s Order, however, Allergan tried to put the onus on

Revance to “explain what documents or types of documents Revance believes are missing from

Allergan’s productions and/or searches.” Ex. A, at 1, 3. The September 25 letter also included

certain search terms and date limitations that, according to Allergan, it “underst[ood] to be directed

at documents that would be responsive to these requests.” Id. at 2. Those search terms were wholly

inadequate to meet the full scope of the Court’s Order because they simply tracked the limitations

on the scope of the search that led to Revance’s Motion to Compel in the first place, limitations

the Court’s Order had already overruled.

       On September 26, 2024, Revance responded to Allergan to explain Allergan’s stated plan

was inadequate. Exhibit B, 2024.09.26 G. Bombard Ltr. to A. Roberts. It pointed out various

specific inadequacies in Allergan’s plan and insisted on Allergan’s full compliance with the

Court’s Order.

       Allergan did not address the points raised in Revance’s September 26 letter before the

Court-ordered September 30 deadline passed.

C.     ALLERGAN FAILS TO COMPLY WITH THE COURT’S ORDER.

       On September 30, 2024, Allergan produced just 624 pages of documents (without

metadata) and unverified interrogatory responses. Exhibit C, 2024.10.01 J. Jordan Email to

Revance Counsel. Despite the September 25 letter outlining the search terms Allergan proposed

to use to capture documents subject to the Order, Allergan suddenly reversed course: It claimed



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“Allergan’s search for documents responsive to the RFPs that were subject to the September 30

production date did not require search terms.” Exhibit D, 2024.10.02 A. Roberts Email to Revance

Counsel. After receiving Allergan’s various (and inconsistent) responses and observing Allergan’s

non-compliance, Revance wrote Allergan again, insisting it comply with the Court’s order.

Exhibit E, 2024.10.18 G. Bombard Ltr. to A. Roberts.

       Allergan tries to claim document productions from earlier in 2024 (before the Court’s

Order) contained some documents within the scope of the Court’s Order. But Allergan steadfastly

refuses to certify it has produced all documents the Court ordered produced. Indeed, Allergan

concedes in correspondence it is still undertaking searches that will yield documents covered by

the Order. Exhibit F, 2024.10.31 A. Roberts Ltr. to Revance Counsel.


                             III.RELEVANT LEGAL STANDARD

       Rule 37(b) governs sanctions for a party’s failure to comply with a discovery order. The

imposition of sanctions and the type of sanctions imposed are matters within the court’s sound

discretion based on the facts of each particular case. See NHL v. Metro. Hockey Club, 427 U.S.

639, 642 (1976). “If a party . . . fails to obey an order to provide or permit discovery, including an

order under Rule 26(f), 35, or 37(a), the court where the action is pending may issue further just

orders.” FED. R. CIV. P. 37(b)(2)(A). The “further just orders” includes seven remedies for a party’s

non-compliance, such as “directing that the matters embraced in the order or other designated facts

be taken as established for purposes of the action, as the prevailing party claims” and “prohibiting

the disobedient party from supporting or opposing designated claims or defenses, or from

introducing designated matters in evidence[.]” Id. In the Sixth Circuit, a court generally need not

make a finding of bad faith before sanctioning a party under Rule 37. Youn v. Track, Inc., 324 F.3d

409, 421 (6th Cir. 2003).



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       Where, as here, the non-compliance is not “substantially justified,” the court “must order

the disobedient party . . . to pay the reasonable expenses, including attorney’s fees, caused by the

failure[.]” FED. R. CIV. P. 37(b)(2)(C) (emphasis added). “Substantially justified” means “justified

to a degree that could satisfy a reasonable person.” Pierce v. Underwood, 487 U.S. 552, 565

(1988). An action is substantially justified “if there is a genuine dispute, or if reasonable people

could differ as to the appropriateness of the contested action.” Doe v. Lexington-Fayette Urb.

County Gov’t, 407 F.3d 755, 765 (6th Cir. 2005) (quoting Pierce, 487 U.S. at 552)). Importantly,

Rule 37(b)(2)(C) monetary sanctions do not require bad faith. JPMorgan Chase Bank, N.A. v.

Neovi, Inc., 2007 WL 1875928, at *5 (S.D. Ohio June 20, 2007).


                                        IV.ARGUMENT

       Allergan violated the Court’s Order in two ways. First, Allergan ignored the Court’s

September 30 deadline: It admits it has not completed the review and production of documents

called for by the Order. Second, Allergan limited the scope of its search and production in a way

not supported by the scope of the Court’s Order. Allergan maintained the very objections the Court

overruled and self-servingly narrowed the Order to exclude highly relevant and responsive

documents.

A.     ALLERGAN IGNORED THE ORDER’S DEADLINE.

       By Allergan’s own admission, it failed to comply with the Court-ordered September 30,

2024 production deadline. On October 31, 2024, responding to a letter from Revance about its

non-compliance with the Court-ordered deadline of September 30, Allergan wrote that its “review

and production of documents located using the agreed ESI search terms is ongoing, and we will

continue to produce documents on [an unspecified] rolling basis.” Ex. F at 4 (emphasis added). It

also promised to “supplement its production” with some unspecified documents at an unspecified



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future date. Id. at 2, 3. In addition, before the deadline, Allergan disclosed certain ESI search

parameters it “underst[ood] to be directed at documents that would be responsive to these requests”

with Category 3.1 Ex. A at 2. It thus appears Allergan has also failed to produce documents

resulting from even this narrowed, patently insufficient search.

       “Courts cannot function smoothly if parties, and counsel, ignore the rules, overlook due

dates, or flout court orders. In this sense, sanctions may be a useful tool in vindicating the court’s

authority, reminding those who need reminding of the protocol, and ensuring orderliness in the

judicial process.” Anderson v. Beatrice Foods Co., 900 F.2d 388, 395 (1st Cir. 1990). “[C]ourt

deadlines are not mere suggestions or guideposts,” and a court may sanction a party’s unexcused

failure to abide by them. Metts v. Airtran Airways, Inc., Civ. No. DKC 10-466, 2010 WL 4183020,

at *3 (D. Md. Oct. 22, 2010).

       A party’s belated compliance with a court-imposed deadline in an order granting a motion

to compel “does not constitute compliance.” Flame S.A. v. Indus. Carriers, Inc., 39 F. Supp. 3d

752, 761 (E.D. Va. 2014); see Green v. John Chatillon & Sons, 188 F.R.D. 422, 424 (M.D.N.C.

1998), aff’d, 165 F.3d 18 (4th Cir. 1998) (finding discovery violation where plaintiff failed to

provide discovery request two months after being ordered to do so). Flame S.A. is instructive. In

Flame S.A., the magistrate judge ordered certain emails produced by May 7, 2014 based on the

plaintiffs’ motion to compel. Id. Thereafter, the defendant produced some responsive documents

required by the order but did not produce all responsive emails until two months later, on July 14.

The district court held the production “was simply too late and therefore noncompliant.” Id. Other

courts have similarly held that a party’s failure to produce all documents by a court-ordered




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 The Joint Discovery Plan obligates producing parties to disclose the search terms it uses to located
potentially responsive ESI. ECF No. 223 at¶ 8(d).

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deadline “clearly and convincingly demonstrates that they violated” a court order. Doe v. Mast,

No. 3:22CV00049, 2024 WL 3371122, at *15 (W.D. Va. July 10, 2024).

       In addition, despite the Court-ordered deadline, Allergan failed to provide the interrogatory

responses under oath. Rule 33(b)(3) provides that “Each interrogatory must, to the extent it is not

objected to, be answered separately and fully in writing under oath.” (emphasis added). This is not

a suggestion; the federal rules require verification. See Villareal v. El Chile, Inc., 266 F.R.D. 207,

211 (N.D. Ill. 2010) (“Under Rule 33, answers to interrogatories must be verified and must be

signed by the person answering the interrogatory, not only by the party’s attorney.”); Knights

Armament Co. v. Optical Sys. Tech., Inc., 254 F.R.D. 463, 466 (M.D. Fla. 2008), aff’d on other

grounds, 254 F.R.D. 470 (M.D. Fla. 2008) (verification requirement applies to supplemental

responses as well as original responses). To date, Allergan has not verified its supplemental

responses to Interrogatory Nos. 3 and 12.

B.     ALLERGAN UNILATERALLY NARROWED THE ORDER.

       Allergan unilaterally imposed limitations on the scope of the Order and therefore refuses

to comply with it. Allergan “appears to have substituted its own judgment for the court’s” in

deciding it need not comply in full with the Order. See TBC, Inc. v. DEI Sales, Inc., No. CCB-14-

3644, 2017 WL 4151261, at *7 (D. Md. Sept. 19, 2017). A party proceeds at its own risk when it

rewrites an order. Excuses for non-compliance or other narrowing “should [be] raised in a direct

challenge to the order, rather than as a defense to non-compliance with its terms.” Id. at *7 n.9.

       With respect to Request for Production 32 the Court ordered Allergan to produce “any

nonprivileged documents that are responsive to RFP No. 32 are within Allergan’s possession,

custody, or control, Allergan must produce them to Revance.” ECF No. 204 at 13-14 (emphasis

added). Request 32 sought “All documents concerning the departure from Allergan of any former

Allergan employee listed in Appendix I.” ECF No. 158-2 at 9. The Order expressly rejected


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Allergan’s proposal to limit its production on this subject to only those documents within the

former employees’ personnel files. See ECF No. 204 at 13. But Allergan limited its production to

only those documents within the personnel files of the former Allergan employees. Ex. A at 1.

Obviously, this limitation excludes a variety of documents the Court already ruled were relevant.

For example, it omits communications about a reduction in force, communications about an

employee’s voluntary or involuntary termination, communications about transitioning work to

other employees, departure reminders to departing employees, as well as other categories of

documents.

       With respect to RFPs 45-51 and 54, the Court ordered Allergan to produce “any

nonprivileged documents that are responsive to these RFP are within Allergan’s possession,

custody, or control.” ECF No. 204 at 21 (emphasis added). The Order expressly rejected Allergan’s

proposed limitations because adjudication of Revance’s affirmative defenses should be based on

facts. ECF No. 204 at 19-20. But Allergan persists, limiting its production to “business-planning

documents, including long-range planning (LRP) presentations, business reviews, growth

analyses, and target populations that it was able to locate after a reasonably diligent search.” Ex.

A at 2. This made-up limitation, directly contrary to the Court’s Order, makes sure

communications by Allergan’s personnel regarding Revance and its products don’t come to light.

Allergan’s limitation omits emails, chats, or other documents discussing Revance (documents

clearly within the scope of the Court’s Order) in favor of a limited set of canned, sanitized

presentations.

       Allergan’s attempt to avoid compliance with the Order extends to temporal scope. The

Court ordered Allergan to produce documents responsive to Revance’s Requests for Production

46, 47, 50, and 51 since January 1, 2015. See ECF No. 158-2 at 15-20; ECF No. 158-3 at 7-8. Yet




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in Allergan’s letter dated September 25, 2024, Allergan said it was only running searches starting

as of January 1, 2018—effectively (and unilaterally) excluding three years’ worth of information

encompassed in the Order. Ex. A at 2. Well after the compliance deadline passed, Allergan

apparently reversed itself, stating, “Allergan is expanding the date range of these searches . . . .”

Ex. F at 3. This abrupt about-face concedes Allergan’s failure to comply with the Court’s Order

by the deadline.

       Allergan’s post-hoc narrowing of discovery the Court has already ordered Allergan

produce leaves Revance no choice but to file this Motion: “sanctions are the exclusive vehicle

through which the Court may enforce a prior order compelling discovery. Victor v. Reynolds, 649

F. Supp. 3d 499, 514 (E.D. Mich.), reconsideration denied, 678 F. Supp. 3d 940 (E.D. Mich. 2023)

(citing Acosta v. Austin Elec. Servs. LLC, 325 F.R.D. 322, 324-25 (D. Ariz. 2018)); Nozinich v.

Johnson & Johnson, Inc., No. 09-02105, 2011 WL 13124086, at *2 (W.D. Tenn. Apr. 4, 2011)).

C.     ALLERGAN HAS DECLINED TO CERTIFY IT PRODUCED ALL RESPONSIVE DOCUMENTS.

       Following the self-serving limitations, inconsistencies, and untimeliness outlined above,

Revance repeatedly asked Allergan to certify it produced “any nonprivileged documents” subject

to the Order. In response, Allergan has only repeated a cryptic line that it has “produced responsive

documents” or, in a more recent iteration, that it produced documents “it has been able to locate

after a reasonable inquiry and diligence search.” See Ex. F at 2. But producing some responsive

documents is very different from producing all responsive documents. See Mast, 2024 WL

3371122, at *14 (“All meant all—it did not mean ‘substantially all’ or ‘a near complete

production’ of previously unproduced responsive materials.”). And Allergan fails to provide the

scope of its supposed “reasonable inquiry and diligent search.” Indeed, Allergan has flip flopped

on even whether its “diligent search” would include the ESI search terms. See Exhibit D,




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2024.10.02 A. Roberts Email to Revance Counsel (“Allergan’s search for documents responsive

to the RFPs that were subject to the September 30 production date did not require search terms.”).

       The Order did not authorize Allergan to pick and choose the “responsive documents” it

chose to produce. Rather, it directed Allergan to produce “any nonprivileged documents.” After

being forced to seek a court order compelling production of these documents, Revance should not

be forced to simply accept Allergan’s conclusory statement that there is “nothing to see here.” Of

course, Allergan’s refusal to certify its compliance can only lead to the conclusion that Allergan

has not produced “any nonprivileged documents” as the Order requires.

D.     THE COURT SHOULD ORDER ALLERGAN PAY REVANCE’S FEES CAUSED BY THE
       FAILURE.

       Allergan violated the Order, and it did so without substantial justification. It did not comply

with the Order’s September 30 deadline. And Allergan unilaterally attempted to substitute its own

judgment in place of the Court’s order, in some instances with the gall of even reiterating the same

positions the Court considered and overruled in the Order. Reasonable persons could not differ as

to the appropriateness of Allergan’s actions. See Lexington-Fayette Urb. County Gov’t, 407 F.3d

at 765 (quoting Pierce, 487 U.S. at 552). The fact is, it failed to comply with the Order. For

example, Allergan admits it failed to produce the documents subject to the Order by September 30

(or even as of the date of this filing, more than 30 days later). Allergan unilaterally lopped three

full years off of the timeframe provided in the Court’s Order and still has not produced the

responsive documents from 2015-2017.

       Revance has incurred significant expense due to Allergan’s contempt for the Court’s Order.

It had to send multiple letters to Allergan seeking voluntary compliance short of filing this Motion.

Eventually, Allergan’s refusal forced Revance to file this Motion. Revance never should have been

forced to incur additional fees on top of those it had to expend in connection with the original



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Motion to Compel. Moreover, “[a] defendant is prejudiced by a plaintiff’s dilatory conduct if the

defendant is ‘required to waste time, money, and effort in pursuit of cooperation which [the

plaintiff] was legally obligated to provide.’” Carpenter v. City of Flint, 723 F.3d 700, 707 (6th Cir.

2013) (quoting Harmon v. CSX Transp., Inc., 110 F.3d 364, 368 (6th Cir. 1997)). Allergan’s failure

to timely comply with the Order has needlessly backed up other discovery in this case. Under the

current scheduling order, fact discovery should be drawing to a close, but Allergan still has not

produced basic documents concerning its allegations.

       In similar cases, when a party fails to produce documents pursuant to a court order or meet

deadlines, district courts in the Sixth Circuit have levied monetary sanctions. See, e.g., Bentley v.

Cywes, No. 2:22-CV-4189, 2024 WL 3066077, at *3-5 (S.D. Ohio June 20, 2024) (granting

sanction of reasonable attorney’s fees for party’s failure to produce documents court ordered be

disclosed); Sutton v. Gandhu, No. 22-CV-2870, 2023 WL 5019911, at *2 (W.D. Tenn. Aug. 7,

2023) (finding award of attorneys’ fee “just” where defendant suffered needless delay of months

before obtaining discovery materials and incurring additional attorneys’ fees to force plaintiff to

comply with his discovery obligation); Saginaw Chippewa Indian Tribe of Michigan v. Blue Cross

Blue Shield of Michigan, No. 1:16-CV-10317, 2023 WL 1452062, at *10 (E.D. Mich. Feb. 1,

2023), objections overruled, 683 F. Supp. 3d 645 (E.D. Mich. 2023), reconsideration denied, 685

F. Supp. 3d 525 (E.D. Mich. 2023) (finding court “must” impose sanctions in form of payment of

attorneys’ fees and costs incurred due to failure to comply with discovery order).

       Accordingly, Revance asks the Court to order Allergan to compensate Revance for

bringing the instant Motion for Sanctions.2




2
  The Court should set a date certain by which Revance may submit an evidentiary petition in
support of its request for attorneys’ fees and costs.

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                                         V.CONCLUSION

       The Order set a firm deadline for compliance, with which Allergan has not fully complied.

The Order required the production of “any nonprivileged documents” (emphasis added) responsive

to a variety of Revance’s requests for production, which Allergan refuses to say it did. Allergan’s

continued foot-dragging prejudices Revance’s ability to fairly conduct discovery in this case.

       Therefore, the Court should order that within seven days, Allergan (1) produce “any

nonprivileged documents” within its possession, custody, or control subject to the Order; (2)

certify that no further responsive documents exist; and (3) detail the specific steps it took to comply

with the Order, including all custodians searched and search terms used (if any) to ensure

compliance. Furthermore, the Court should award Revance its reasonable attorneys’ fees and costs

incurred due to Allergan’s recalcitrance in complying with the Order.




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 DATED: November 6, 2024




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of DEFENDANT REVANCE THERAPEUTICS,

INC.’S MOTION FOR SANCTIONS was served on all counsel of record in this case via

CM/ECF on this 6 day of November, 2024.

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